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                                                                                                 DALLAS COUNTY
 1 CIT/ESERVE                                                                                  11/29/2018 11:25 AM
   Case 3:18-cv-03414-G Document 1-4 Filed 12/28/18                Page 1 of 13 PageID 12           FELICIA PITRE
                                                                                                  DISTRICT CLERK

                                                                                                Alicia Mata
                                      DC-18-17896
                             CAUSE NO. _____________________

LABRESHA KING,                               §
                                             §
               Plaintiff,                    §         IN THE DISTRICT COURT
                                             §
v.                                           §
                                             §         DALLAS COUNTY, TEXAS
DOLLAR GENERAL CORP.,                        §
                                             §
               Defendant.                    §         L-193RD
                                                       ________ JUDICIAL DISTRICT
                                             §
                                             §


               PLAINTIFF’S ORIGINAL PETITION AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Plaintiff, LaBresha King, complaining of Dollar General Corp., and for

cause of action would show the Court as follows:

                                                 I.

                                DISCOVERY CONTROL PLAN

     1. In accordance with Rule 190.1, Texas Rules of Civil Procedure, Plaintiff will conduct

        discovery in this civil action under Discovery Control Plan Level Two.

                                                 II.

                                           PARTIES

     2. Plaintiff LaBresha King (“King” or “Plaintiff”) is an individual who resides in Dallas,

        Dallas County, Texas.

     3. Defendant Dollar General Corporation (“Dollar General”) is a corporation organized under

        Kentucky law with its principal office located in Tennessee.




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   4. Dollar General may be served with process by serving its registered agent for service of

       process, Corporation Service Company d/b/a CSC-Lawyers Incorporating Service

       Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701.

                                              III.

                                         JURISDICTION

   5. This court has personal jurisdiction over Defendant because this cause of action arose in

       Texas, and because Defendant is amenable to service by a Texas court.

   6. This Court has subject matter jurisdiction over this dispute because district courts are

       constitutional courts of general jurisdiction, and the amount in controversy is within the

       jurisdictional limits of the court.

   7. Plaintiff seeks monetary relief of over $200,000 but not more than $1,000,000.

                                              IV.

                                             VENUE

   8. Venue is proper in Dallas County, Texas pursuant to TEX. CIV. PRAC. & REM. CODE §

       15.002(a)(1) because all or a substantial part of the acts or omissions giving rise to

       Plaintiff’s claims occurred in Dallas County.

                                               V.

                                             FACTS

   9. Plaintiff began her five-year career with Dollar General as a Sales Associate, and

       eventually worked her way up to Store Manager. Plaintiff managed the Dollar General

       store located at 4807 Sunnyvale in southwest Dallas from November of 2016 until she was

       terminated.




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   10. Like many of Dollar General’s stores, the Sunnyvale store is located in a high crime area.

       In fact, this store has been plagued with crime literally from the moment it opened, getting

       robbed on its first day in business. In the two years since the Sunnyvale location opened,

       it has been broken into at least ten times and its employees robbed at gunpoint four times.

       The police have been called to the store literally hundreds of times. Plaintiff was present

       on each of the four armed robberies.

   11. During her time as Manager of the Sunnyvale store, Plaintiff reported to various District

       Managers, including Yava Gibson (“Gibson”), Ali (l.n.u.), Cali (l.n.u.), and Jeffrey Graden

       (“Graden”).

   12. Graden became Plaintiff’s District Manager in early 2018 and remained her District

       Manager until he fired her. The Sunnyvale store fell under the supervision of Regional

       Director Luis (l.n.u.).

   13. Plaintiff and other store employees are often required to arrive at the store two hours before

       the store opens and remain at the store between 30 minutes and an hour after the store

       closes to perform functions like restocking and cash-handling.

   14. Even though the store is located in an extremely dangerous area of town, it lacked basic

       features designed to ensure the safety of Dollar General’s employees and customers. The

       exterior of the store is poorly lit; the only light sources on the front of the building consist

       of some fluorescent strip lighting above the door, and the yellow “Dollar General” sign

       above the awning of the door emits very little light and the light it does project is blocked

       by the awning. There are exterior lights spaced sporadically along one side of the building,

       but no lights on the back of the building or along the other side. While there are large street

       lamps in the parking lot, these were operated by sensor and were never illuminated. At



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       night, all light sources are scheduled to go off shortly after the store closes to the public.

       Store employees have to manually override these lights, which would provide illumination

       in one-hour increments, so that employees could complete their end-of-day job duties.

       Consequently, when store employees arrive two hours before opening in the morning as

       they are required to do, there are no lights on at all, and the store and parking lot are pitch

       black. Although the store erected signs representing that Iverify (a security system that

       includes closed circuit TV systems and remote monitoring) was installed at the store, it

       never actually was. The store also did not have panic buttons installed at the cash registers,

       and it did not even post a 30.06 sign which would have prohibited firearms on the property.

   15. In late October of 2017, the store was robbed while clerk Gabrielle Monique Simmons

       (“Simmons”) was working. This robbery left Simmons shaken but she returned to work

       out of financial need.

   16. Two weeks later, on the evening of November 6, 2017, Plaintiff and Simmons were

       working when the store was again robbed at gunpoint. This time, the perpetrator shot and

       killed Simmons, a mother of six, as she emptied the till into his bag. This occurred in front

       of Plaintiff, and Simmons, a coworker and a friend, died in her arms.

   17. Following Simmons’ murder, Plaintiff requested a transfer to a safer store, but her request

       was denied. Faced with departing employees and a legitimate fear for employee safety,

       she begged Gibson, Graden, Cali, Luis, Luis’ supervisor, a Dollar General Vice President,

       a loss prevention employee named Lee (l.n.u.), and risk management employee LaTasha

       Crosby (“Crosby”) for additional safety measures at the store, including additional lighting

       on the exterior of the building, video cameras on the exterior of the building, an earlier

       closing time, aluminum rolling doors, a reconfiguration of the layout of the cash registers



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        to provide a better view of the front door, and armed security. 1 The only changes Dollar

        General implemented were to allow the store to temporarily close one hour earlier outside

        of daylight savings time, and private security. The private security that Dollar General

        arranged was sporadic and was present only from noon to closing because, according to

        Graden, “criminals sleep during the day.” Dollar General discontinued private security

        altogether on January 1 and reverted to normal operating hours in March.

    18. Meanwhile, Plaintiff began seeing a therapist and a psychiatrist after Simmons’ murder

        and was diagnosed with anxiety and post-traumatic stress disorder for the first time in her

        life.    To say that witnessing Simmons’ murder affected Plaintiff would be an

        understatement, and there were times that she doubted that she would ever feel normal

        again. Through a regimen of medication and regular therapy, Plaintiff was able to continue

        working.

    19. Even though Plaintiff and her employees were abandoned by Dollar General and left to

        fend for themselves, they adapted to the constant threat of violent crime by alternating their

        arrival times, circling the building before going inside, checking hiding places like the

        dumpster, entering the store with their cars still running and headlights on in case they

        needed to escape, and of course being in a constant state of hypervigilance while working.

        Even though Plaintiff was not scheduled to work evenings, she would often go to the store

        in the evenings to be an additional presence for her employees.

    20. In the early morning hours of March 18, Plaintiff and store clerk Shawaana Smith

        (“Smith”) arrived at the store around 6:00 AM to stock before the store opened for the day.

        The lights on the building were not on, and it was completely dark outside. Plaintiff and


1
 Businesses and even apartment complexes in the immediate vicinity of the store recognize the danger of the area and
utilize off-duty Dallas police officers for security.

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       Smith circled the building, checked the dumpster, and parked in front with the car still

       running. They checked around them and approached the door. Despite these measures,

       before they could open the door, they heard a male voice behind them shout “b*ch get in

       the motherf*ing building.” The three of them went inside and the assailant closed the door

       behind them. He was holding Smith by the neck, pointing his gun at Plaintiff, and shouting

       at her, “b*ch you better not set the alarm” and “give me the money in the safe.” They went

       to the safe by the register and Plaintiff input the code. The safe, though, was on a nine-

       minute delay, and the assailant became agitated and struck Plaintiff on the side of the head

       with his gun, shouting “b*ch hurry up” and additional threats. At one point he shoved

       items that were on the counter onto the floor and screamed at Smith to get in the corner of

       the room and close her eyes. Plaintiff was sobbing and begging the man to not hurt Smith.

       He struck her again and swung his gun toward Smith when he saw her praying in the corner.

       At that point the safe opened, the robber took the contents, and he fled.

   21. After the robbery, Plaintiff called Graden but got no answer. She then called Yava and

       told her what had happened. Graden finally called Plaintiff back around 11:00 and then

       came to the store. Plaintiff tried to explain what she and Smith had gone through and

       Graden could not have cared less. He had a backpack full of cash for the till, and he simply

       told Plaintiff to reopen the store which had been closed all morning as police processed the

       crime scene.

   22. Plaintiff returned to work the next day but experienced a panic attack shortly after her

       return. She immediately began a medical leave of absence pursuant to the FMLA.

       Obviously, the anxiety and PTSD she began experiencing when Simmons was killed were

       significantly aggravated after this robbery. Plaintiff’s doctors ordered her to remain off



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       work as she required more intense therapy and medication as a result of this totally

       preventable armed robbery.

   23. In early June of 2018, Plaintiff’s therapist called her and informed her that she had received

       an email from Dollar General letting her know that she should not provide further services

       to Plaintiff because her employment with Dollar General had been terminated. This was a

       shock to Plaintiff, as she had not exhausted her FMLA leave and had done nothing to

       warrant her termination. She tried to get answers from Crosby, who claimed to not have

       knowledge of Plaintiff’s termination. Plaintiff finally reached Graden, who confirmed that

       Plaintiff was no longer employed by Dollar General but gave no reason for the termination.

   24. Dollar General is a non-subscriber under to the Texas Workers-Compensation Act.

   25. Plaintiff has incurred substantial medical expenses as a result of her injuries which were

       not paid for by Dollar General. Plaintiff’s physical injuries include mental and emotional

       anguish which will continue into the future.

                                                VI.

                                     CAUSES OF ACTION

                                      Count 1 - Negligence

   26. Plaintiff incorporates paragraphs 9-25 as though fully set forth herein.

   27. Under Texas law, an employer owes its employees nondelegable duties, which include:

              A.      to supervise employees' activities;

              B.      to hire competent co-employees;

              C.      to furnish reasonably safe instrumentalities with which to work;

              D.      to provide rules and regulations for the safety of employees;

              E.      to warn them of the hazards of their position;



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              F.      to provide a reasonably safe workplace;

              G.      to provide safety equipment; and

              H.      to train employees to avoid the hazards of their position.

   28. Defendant, through its agents, servants, and/or employees, breached these duties by:

              A. refusing to transfer her to a safer location upon her request;

              B. failing to install adequate exterior lighting;

              C. utilizing a time delay safe;

              D. failing to provide cameras; and

              E. refusing to provide adequate armed security.

   29. Defendant’s breach of these duties proximately caused the damages identified below.

   30. Courts consider several factors in determining if an instrumentality is necessary:

              A. whether the employee requested the instrumentality in question;

              B. whether the employee complained that the task she was performing was

                   unsafe;

              C. whether the employee had safely performed the task in the past without injury;

              D. whether the instrumentality “was commonly used in, or had been established

                   by industry standards or customs as a safety measure for” her job;

              E. whether “a reasonably prudent employer would have provided such

                   instrumentality”; and

              F. whether there was medical evidence that the instrumentality would have

                   prevented the employee’s injury.

   31. Here, Dollar General fails all six factors as

              A. Plaintiff requested additional lighting and security;



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               B. Plaintiff complained about the safety issues at the Sunnyvale location;

               C. The previous criminal incidents, including Simmons’ murder, provided clear

                   notice to Dollar General of the necessity of better lighting and security;

               D. the benefit of increased lighting and security are well known throughout the

                   industry to prevent criminal activity;

               E. a reasonably prudent employer would have provided increased lighting and

                   security; and

               F. Plaintiff’s anxiety and PTSD were directly caused by the armed robberies.

                                   Count 2 – Gross Negligence

   32. Plaintiff incorporates paragraphs 9-25 as though fully set forth herein.

   33. Dollar General’s conduct was so egregious as to go beyond ordinary negligence principles

       subjecting them to liability for gross negligence. Tex. Civ. Prac & Rem Code. § 41.003(a)

   34. Gross negligence consists of both an objective and a subjective component. The two

       elements of gross negligence are: 1) when viewed objectively from the standpoint of the

       actor, the act or omission must involve an extreme degree of risk, considering the

       probability and magnitude of the potential harm to others; and 2) the actor must have actual,

       subjective awareness of the risk involved, but nevertheless proceed in conscious

       indifference to the rights, safety, or welfare of others.

   35. Dollar General’s conscious decision to discontinue security and not install the requested

       lights even after Simmons’ murder and in the face of the significant history of criminal

       activity at the store more than meets the elements of gross negligence. The fact that a

       defendant exercises some degree of care, does not insulate the defendant from gross

       negligence liability.



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                                  Count 3 – Premise Liability

   36. Plaintiff incorporates paragraphs 9-25 as though fully set forth herein.

   37. A premise owner has a duty to use ordinary care to protect invitees from criminal acts of

       third parties if he knows or has reason to know of an unreasonable and foreseeable risk of

       harm to the invitee.

   38. Recently, the Texas Supreme Court has applied this premise to nonsubscriber cases.

       Finding an exception to the general rule that an employer has no duty to warn an employee

       of unreasonably dangerous conditions that are obvious or known to the employee. Austin

       v. Kroger Texas, LP., 465 S.W. 3d 193 (Tex.2015), citing, Del Lago Partners v. Smith, 307

       S.W.3d 762, 772–73 (Tex.2010). This exception applies in cases involving dangers

       resulting from a third party’s criminal conduct in which the landowner should have

       anticipated that the harm would occur despite the invitee’s knowledge of the risks. In such

       cases, the landowner owes a duty to take reasonable steps to make the premises safe. See

       Eagle Trucking Co. v. Tex. Bitulithic Co., 612 S.W.2d 503, 507 (Tex. 1981).

   39. Dollar General should have anticipated that additional armed robberies and assaults would

       occur given the previous criminal incidents and Dollar General’s decision to remove

       security from the store.

                   Count 4 – Family and Medical Leave Act – Interference

   40. Plaintiff incorporates paragraphs 9-25 as though fully set forth herein.

   41. Plaintiff has satisfied all jurisdictional prerequisites in connection with her claim under the

       Family and Medical Leave Act (“FMLA”), 29 U.S.C. § 2601 et. seq.

   42. Dollar General is an “employer” as defined by the FMLA in 29 U.S.C. § 2611(4).




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   43. During the time that Plaintiff was employed by Dollar General, she was an “eligible

       employee” as defined by the FMLA in 29 U.S.C. § 2611(2).

   44. While Plaintiff was employed by Dollar General, she had a “serious health condition”

       within the meaning of 29 U.S.C. § 2611(11).

   45. Plaintiff was entitled to medical leave to receive treatment for her serious health conditions

       as provided for in 29 U.S.C. § 2612(a)(1)(C).

   46. Dollar General interfered with Plaintiff’s rights under the FMLA by terminating her

       employment shortly into her FMLA leave.

                   Count 5 – Family and Medical Leave Act – Retaliation

   47. Plaintiff incorporates paragraphs 9-25 as though fully set forth herein.

   48. The FMLA also prohibits retaliation for availing oneself of her rights under the FMLA.

   49. Plaintiff must show that she was protected under the FMLA, she suffered an adverse

       employment action, and that a causal link exists between the protected activity and the

       adverse action.

   50. In this case, as set forth above, Plaintiff was protected under the FMLA. Dollar General

       terminated Plaintiff’s employment shortly after she availed herself of her rights under the

       Act.




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                                                VII.

                                             PRAYER

   51. WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that Defendant

       be cited to appear and answer herein, and that on trial of this cause of action, Plaintiff shall

       have judgment against Defendant for the following relief:

        1. Back pay and employment benefits, and other appropriate equitable relief;

        2. Compensatory damages for future pecuniary losses, emotional pain, suffering,
           inconvenience, mental anguish, loss of enjoyment of life and other non-pecuniary
           losses;

        3. Reasonable and necessary medical care and expenses which will in all reasonable
           probability be incurred in the future;

        4. Physical pain and suffering in the past and in the future;

        5. Prejudgment interest on all equitable monetary remedies and compensatory damages;

        6. Punitive damages;

        7. Liquidated damages;

        8. Reasonable attorney’s fees and costs, including expert fees; and

        9. Such other and further relief to which Plaintiff may be entitled.

                                                VIII.

                                         JURY DEMAND

   52. Plaintiff requests that all ultimate fact issues be submitted to a jury for determination in

       accordance with Texas law. She has paid the jury fee.




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                                                   Respectfully Submitted,




                                                   _______________________________
                                                   Kyla Gail Cole
                                                   State Bar No. 24033113
                                                   kyla@colereicheklaw.com

                                                   Cole | Reichek, PLLC
                                                   2911 Turtle Creek Boulevard, Suite 300
                                                   Dallas, Texas 75219
                                                   214.599.8311 (Telephone)
                                                   214.580.9680 (Facsimile)

                                                   Counsel for Plaintiff




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